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13                              UNITED STATES DISTRICT COURT

14                 NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION

15 CALIFORNIA COALITION FOR WOMEN                             Case No. 4:23-cv-04155
     PRISONERS; R.B.; A.H.R.; S.L.; J.L.; J.M.; G.M.;
16   A.S.; and L.T., individuals on behalf of themselves      DECLARATION OF M
     and all others similarly situated,                       V        R      IN SUPPORT
17                   Plaintiffs,                              OF PLAINTIFFS’ MOTIONS FOR
                                                              PRELIMINARY INJUNCTION
18           v.                                               AND PROVISIONAL CLASS
                                                              CERTIFICATION
     UNITED STATES OF AMERICA FEDERAL
19   BUREAU OF PRISONS, a governmental entity;
     BUREAU OF PRISONS DIRECTOR COLETTE
20   PETERS, in her official capacity; FCI DUBLIN
     WARDEN THAHESHA JUSINO, in her official
21   capacity; OFFICER BELLHOUSE, in his individual
     capacity; OFFICER GACAD, in his individual
22   capacity; OFFICER JONES, in his individual
     capacity; LIEUTENANT JONES, in her individual
23   capacity; OFFICER LEWIS, in his individual
     capacity; OFFICER NUNLEY, in his individual
24   capacity, OFFICER POOL, in his individual capacity,
     LIEUTENANT PUTNAM, in his individual capacity;
25   OFFICER SERRANO, in his individual capacity;
     OFFICER SHIRLEY, in his individual capacity;
26   OFFICER SMITH, in his individual capacity; and
     OFFICER VASQUEZ, in her individual capacity,
27
                     Defendants.
28
     [4339999.1]
             DECLARATION OF M     VI       R    IN SUPPORT OF PLAINTIFFS’ MOTIONS FOR
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 1         I, M     V       R     , declare:
 2         1.     I have personal knowledge of the facts set forth herein, and if called as a
 3 witness, I could and would competently so testify. I make this declaration in support of
 4 Plaintiffs' Motions for Preliminary Injunction and Provisional Class Certification.
 5         2.     I was incarcerated in federal prison and was incarcerated at FCI Dublin from
 6 January 2020 to March 13, 2023.
 7         3.     FCI Dublin’s inadequate systems for preventing, detecting, and responding
 8 to sexual abuse have caused actual harm to myself and others incarcerated at FCI Dublin
 9 and put myself and other incarcerated persons at substantial risk of serious harm from
10 sexual assault, harassment, and retaliation from staff.
11         4.     While I was incarcerated at FCI Dublin, I worked in the kitchen washing
12 dishes until I was released in March 2023. Officer Jones was a kitchen supervisor at FCI
13 Dublin who started working in the kitchen around 2021. While I was incarcerated in FCI
14 Dublin I was most afraid of Officer Jones. He was especially cruel with people, and he
15 especially hated me. It was well known that Officer Jones would only refrain from
16 physically or emotionally abusing people if he was interested in a woman or if a woman
17 was nice or flirted with him. But because I refused to flirt with him, he emotionally abused
18 me and treated me so badly.
19         5.     He often yelled at me and threw food at me when I asked simple basic
20 questions. He often called me a range of derogatory names, such as “ugly,” or “old
21 woman,” and said demeaning things such as that I was “worth nothing.” Whenever I asked
22 a question at work, he instantly began screaming at me that he hated me or did not want to
23 see me. Whenever I finished my tasks in the kitchen and went to help another person with
24 their duties, he would often scream at me to “get the fuck out his kitchen” or that he
25 “didn’t want to see [my] fucking face.”
26         6.     Even though I experienced this kind of torment on an everyday basis, I had
27 no choice but to continue to work for him in the kitchen because officers did not allow us
28 to leave. The only way to stop working at a work assignment is to submit a request to
                                            1
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 1 change form. Yet, we were required to submit that form to Officer Jones himself. It was
 2 well known that he would not let anyone leave the kitchen assignment, and he would tear
 3 up any forms requesting a change. I was trapped and forced to work with someone who
 4 was emotionally abusive. Even when Officer Jones left because he was walked off the job,
 5 I was still unable to leave my work. When I attempted to submit a change form, they said
 6 no one would want to work in the kitchen and they needed me to work. They threw my
 7 forms in the trash and I was forced to work there without a choice.
 8         7.     Officer Jones was also physically abusive to many people in the facility.
 9 Everyone knew he was in a relationship with R       . He often made her cry and abused her.
10 Once in the beginning of 2022, he was with her in the warehouse department. He began
11 yelling at her and he slapped her across her face in front of me and everyone else around.
12         8.     In addition, Officer Jones was extremely homophobic. I often heard him tell
13 people that he hated lesbians. He would tell women who he was in a sexual relationship
14 with that if they were interested in other women that he would be angry. If any woman he
15 was involved with was talking to known lesbians in the facility, he would get extremely
16 angry and yell at them. He especially hated women who looked more masculine. There
17 was one particular person who looked very masculine in the facility that Officer Jones
18 hated. When she was walking down the hall he would say “Look at that thing coming
19 down the hall.” In 2022, he beat and punched this person just because he’s homophobic
20 and hated her.
21         9.     I felt traumatized by my experience with Officer Jones. Whenever I was
22 around Officer Jones my heart would race and I was overcome with fear. Even to this day,
23 anytime I see someone who looks even somewhat like him, my heart races and I get very
24 anxious.
25         10.    Lieutenant Jones was similarly cruel with us too. We thought she was
26 Officer Jones’s sister because they were equally cruel. She would conduct intense searches
27 of people without cause and would even search people out in the rain. She screamed at
28 people, and threw their food on the ground. She didn’t allow us to have basic necessities or
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 1 bring even small things like coffee to our workstation, even though we started at 5 am.
 2 When we asked her basic questions, she would scream at us, “I don’t have a reason to talk
 3 to you.” She gave us no basic respect. People reported her but officers said that they
 4 wanted to keep her “because she was strict.”
 5          11.   Many officers sexually harassed me and touched me throughout my time at
 6 Dublin. One of these officers was Officer Glassier. When we requested hairnets from him
 7 for work, he often responded, “How are you going to pay me for this?” When I would
 8 respond, “What do you mean how are we going to pay? We are in prison and don’t have
 9 money.” He responded, “You know what I want.” I understood this to mean he wanted us
10 to give him something sexual in exchange for a hairnet.
11          12.   He also sexually touched me. One day while I was working, one of the
12 machines got stuck. It requires an officer to come with a key to open it, so I asked Officer
13 Glassier to help me. While in front of the machine, he rubbed his erect penis on my
14 buttocks. I have witnessed Officer Glassier rubbing up against many other women in the
15 same way. On one other occasion in 2021, Officer Glassier pinched my breasts while I
16 was working in the kitchen washing dishes. He also would often touch my arms and he
17 made me feel uncomfortable. In other times, he asked me to bend down for no reason, only
18 so he could look at my buttocks.
19          13.   Other officers have also sexually harassed me. In early 2021, Officer
20 O’Connor walked into the shower area when I was showering, and he refused to leave. On
21 another occasion, he came into my cell when I was only in my bra and ordered me to put
22 on shorts. When I asked him to step out so I could put on shorts in private without him
23 watching me as I undressed, he yelled at me, “Didn’t you hear me, just put on your shorts.”
24 I believe he wanted to watch me undress while I put on shorts. I don’t believe he saw that
25 my bunkie was asleep in the cell, because when she defended me, he looked startled and
26 walked away, like he got caught. I submitted a PREA report about this, but nothing was
27 done.
28          14.   I have also witnessed Officer O’Connor do lewd and childish things. He
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 1 often commanded people to pull his finger and when they did, he would pass gas.
 2         15.    Officer Smith was also especially sexually abusive. Everyone knew him as
 3 the “perverted one.” I heard him often tell other women, “Show me something,” or “show
 4 me your breasts.” If they refused, he would threaten to write them up for disciplinary
 5 charges.
 6         16.    I also very closely witnessed Officer Chavez’s sexual relationships. In 2020-
 7 2021, Officer Chavez was having has sex with my friend. Once, I witnessed them go to the
 8 washing machine area to have sex. I also saw him kiss her in our unit. She often had many
 9 hickies from him on her neck.
10         17.    Everyone, especially officers, knew that he was having sex with her. Officer
11 Chavez, and the other officers, would give her special benefits because she was having sex
12 with him. He allowed her to take heaps of food from the kitchen. She took tons of chicken,
13 vegetables, cheese, sugar—anything she wanted from the kitchen. She was also allowed to
14 do anything she wanted in the prison and she could move around freely without restriction.
15 This was facilitated not only by Officer Chavez, but also all the other officers who would
16 allow her these special privileges because they knew he was in a sexual relationship with
17 her.
18         18.    Officer Chavez gave her other valuable goods including money for her
19 commissary, as well as money for her son. He also brought her earrings for her to keep,
20 and earrings or piercing jewelry for her to sell to other incarcerated people inside. He
21 would often leave these things in the kitchen for her to pick up.
22         19.    He also gave her four MP3 players. On these MP3 players he downloaded
23 songs for her to listen to that we could not access. When my friend left, he told her to give
24 it to someone she trusted, and she gave it to me. I had this MP3 player until I was released
25 from prison.
26         20.    Officer Chavez also called her on video visits when they were not together.
27 He often called her without the camera on so that others would not know it was him.
28         21.    Officer Chavez intentionally transferred one woman whom he thought was
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 1 going to report his relationship with my friend. She was transferred to a prison in
 2 Washington because he thought she was going to speak up.
 3         22.       There is no effective way to confidentially report sexual assault and abuse by
 4 staff at FCI Dublin. Staff at FCI Dublin prevent people from reporting sexual assault and
 5 abuse by staff and retaliate against people who do report.
 6         23.       We were punished, not helped, for reporting. For example, anyone who
 7 reported abuse or mistreatment from Officer Jones was subject to retaliatory transfers or
 8 searches. I        W         reported Officer Jones and she was transferred out of state as a
 9 result. Additionally, C            B      reported him as well and they searched her and took
10 all her things.
11         24.       I also know of many people who were sent to the SHU for reporting.
12 Officers used the SHU for whatever they wanted. For example, I know of one particular
13 woman who made a joke to another officer and that he didn’t like. His friends, Officers
14 Saucedo and Ramos, said that the officer should put in a false PREA report against her for
15 the joke, even though it had nothing to do with PREA. Officer Saucedo and Ramos did just
16 that. She remained in the SHU for a year and a half even though she was set to be
17 transferred right before that. They also joked that they were going to deport her. Because
18 everyone knew that officers could retaliate for anything at all, we knew we had to keep our
19 mouth shut and not report.
20         25.       When incarcerated persons report sexual assault and abuse by staff, FCI
21 Dublin and BOP do not seriously investigate the reports. Investigations are frequently
22 delayed and overseen by staff who know and work with the offending staff member.
23 Generally nothing happens as a result. I reported my experiences to SIS Putnam in
24 January 2023. Officer Putnam checked on me every month but did nothing else to respond
25 to my report and I was never given a copy of this report.
26         26.       There is no confidential mental health care available to survivors of sexual
27 abuse and assault at FCI Dublin. There was one outside psychologist in the facility, but she
28 disappeared in 2022 and there was no replacement for her. This was really difficult for me
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 1 because I was having anxiety and difficulty sleeping and no one could help me.
 2          27.   Staff at FCI Dublin have never worn body-worn cameras in the facility and
 3 despite ongoing sexual abuse and assault at the facility staff still do not use body-worn
 4 cameras. There are no cameras in the kitchen whatsoever. Yet, there is a room with glass
 5 windows on all sides where officers could watch what’s going on in the kitchen. Officers
 6 in this room saw other officers enter rooms alone with other people to have sex with them
 7 for 45 minutes and did nothing. This is why I believe it was all the officers fault that the
 8 abuse happened, not just the ones committing sexual assault. They just simply allowed it to
 9 happen. Even when the cameras are set up, they often don’t work. I know this is true for
10 the cameras in the hallways.
11          28.   My experience in FCI Dublin traumatized me. I have a past experience with
12 childhood abuse. As an adult, I thought I would not need to deal with that because I have
13 the ability to say no or have ways to stop it. But being inside FCI Dublin, my trauma was
14 triggered because we were powerless, which just felt like I did when I was a child. We had
15 no way to defend ourselves and had no one that would listen to us and believe us. We
16 could not even communicate with our family or others about it because officers would read
17 our mail and listen to our conversations and would retaliate against us by putting us in the
18 SHU. I felt trapped and powerless. I know we all made mistakes to get into prison, but we
19 were already serving our sentence for those mistakes and all of this abuse was additional
20 punishment.
21          29.   I still have physical effects from this trauma. Now I have anxiety and trouble
22 sleeping and I am prescribed medication to help me sleep.
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24 / / /
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                                             6
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 1                 I, M   V   R   , declare that Amaris Montes and other individuals in her

 2 organization spoke with me on numerous occasions, most recently on August 15, 2023.

 3 Due to time constraints and technological inabilities, I could not personally sign this

 4 declaration. On this day, August 15, 2023, Amaris Montes corresponded with me via

 5 telephone and I authorized her to sign it on my behalf.

 6

 7 Executed on this 15th day of August, 2023.

 8

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11                                                        Signed by Amaris Montes,
                                                          Rights Behind Bars
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